                       Case 19-14814-RAM          Doc 13     Filed 04/17/19     Page 1 of 6
                                      United States Bankruptcy Court
                                      Southern District of Florida
In re:                                                                                  Case No. 19-14814-RAM
Inlis D Portillo                                                                        Chapter 13
Mariuska L Kauffman
         Debtors
                                        CERTIFICATE OF NOTICE
District/off: 113C-1           User: oriol-ben              Page 1 of 3                   Date Rcvd: Apr 15, 2019
                               Form ID: 309I                Total Noticed: 52


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Apr 17, 2019.
db              Inlis D Portillo,    8420 NW 170th Terrace,    Hialeah, FL 33015-3722
jdb            #Mariuska L Kauffman,    8420 NW 170th Terrace,    Hialeah, FL 33015-3722
tr             +Nancy K. Neidich,    www.ch13miami.com,    POB 279806,    Miramar, FL 33027-9806
95029010       +AG Adjustments,    740 Walt Whitman Road,    Melville, NY 11747-2212
95029012       +AML Auto Sales,    3864 NW 125th Street,    Opa Locka, FL 33054-4541
95029013       +Bank Of America,    4909 Savarese Circle,    Fl1-908-01-50,    Tampa, FL 33634-2413
95029014       +Bsi Financial Services,    Attn: Bankruptcy,    Po Box 517,    Titusville, PA 16354-0517
95029023       +Citibank/The Home Depot,    Attn: Recovery/Centralized Bankruptcy,     Po Box 790034,
                 St Louis, MO 63179-0034
95029033       +El Dorado,   Attn: Bankruptcy Dept,     28552 Orchard Lake Rd, Suite 200,
                 Farmington Hills, MI 48334-2954
95029035       +Everest Business Funding,    8200 NW 52nd Terrace 2nd Floor,     Doral, FL 33166-7852
95029040      ++FORWARD FINANCING,    100 SUMMER ST SUITE 1175,    BOSTON MA 02110-2138
               (address filed with court: Forward Financing, LLC,       100 Summer Street #1175,
                 Boston, MA 02110)
95029048       +Marinosci Law Group PC,    100 West Cypress Creek Rd, Suite 1045,
                 Fort Lauderdale, FL 33309-2191
95029049       +Nissan Motor Acceptance,    Attn: Bankruptcy Dept,     Po Box 660360,   Dallas, TX 75266-0360
95029051       +Nissan Motor Acceptance Corp/Infinity Lt,     Attn: Bankruptcy,    Po Box 660360,
                 Dallas, TX 75266-0360
95029054       +Oportun,   Attn: Bankruptcy,    Po Box 4085,    Menlo Park, CA 94026-4085
95029056       +Sherman Originator III, LLC,    POB 10497,    Greenville, SC 29603-0497
95029057       +Specialized Loan Servicing/SLS,    Attn: Bankruptcy Dept,      8742 Lucent Blvd #300,
                 Highlands Ranch, CO 80129-2386
95029065       +TD Bank USA, N.A.,    c/o Brock & Scott, PLLC,    1315 Westbrook Plaza Drive,
                 Winston Salem, NC 27103-1357
95029066       +Visa Dept Store National Bank/Macy’s,     Attn: Bankruptcy,    Po Box 8053,   Mason, OH 45040-8053

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: court@bankruptcyclinic.com Apr 16 2019 02:07:22        Robert Sanchez, Esq,
                 355 W 49 St.,   Hialeah, FL 33012
smg             EDI: FLDEPREV.COM Apr 16 2019 05:28:00       Florida Department of Revenue,     POB 6668,
                 Bankruptcy Division,    Tallhassee, FL 32314-6668
ust            +E-mail/Text: USTPRegion21.MM.ECF@usdoj.gov Apr 16 2019 02:08:40        Office of the US Trustee,
                 51 S.W. 1st Ave.,    Suite 1204,    Miami, FL 33130-1614
cr             +EDI: RMSC.COM Apr 16 2019 05:28:00       Synchrony Bank,    PRA Receivables Management, LLC,
                 PO Box 41021,   Norfolk, VA 23541-1021
95029011       +EDI: GMACFS.COM Apr 16 2019 05:28:00       Ally Financial,    Attn: Bankruptcy Dept,
                 Po Box 380901,    Bloomington, MN 55438-0901
95029015       +E-mail/Text: david@bccfund.com Apr 16 2019 02:09:27        Business Credit & Capital, LLC,
                 464 Kings Highway #201,    Brooklyn, NY 11223-1804
95029018        EDI: CAPITALONE.COM Apr 16 2019 05:28:00       Capital One,    PO Box 30281,
                 Salt Lake City, UT 84130-0281
95029016       +EDI: CAPITALONE.COM Apr 16 2019 05:28:00       Capital One,    Attn: Bankruptcy,    Po Box 30285,
                 Salt Lake City, UT 84130-0285
95029019       +EDI: CHASE.COM Apr 16 2019 05:28:00       Chase Card Services,    Attn: Bankruptcy,    Po Box 15298,
                 Wilmington, DE 19850-5298
95029022       +EDI: CITICORP.COM Apr 16 2019 05:28:00       Citibank/Sears,    Attn: Bankruptcy,    Po Box 6275,
                 Sioux Falls, SD 57117-6275
95029025       +EDI: WFNNB.COM Apr 16 2019 05:28:00       Comenity Bank / The Limited,    Attn: Bankruptcy,
                 Po Box 182125,    Columbus, OH 43218-2125
95029027       +EDI: WFNNB.COM Apr 16 2019 05:28:00       Comenity Bank/Victoria Secret,     Attn: Bankruptcy,
                 Po Box 182125,    Columbus, OH 43218-2125
95029028       +EDI: WFNNB.COM Apr 16 2019 05:28:00       Comenitycb/el Dorado,    Attn: Bankruptcy Dept,
                 Po Box 182125,    Columbus, OH 43218-2125
95029031        EDI: DISCOVER.COM Apr 16 2019 05:28:00       Discover Financial,    Attn: Bankruptcy Department,
                 Po Box 15316,   Wilmington, DE 19850
95029034       +E-mail/Text: bknotice@ercbpo.com Apr 16 2019 02:09:01        ERC/Enhanced Recovery Corp,
                 Attn: Bankruptcy,    8014 Bayberry Road,    Jacksonville, FL 32256-7412
95029036       +EDI: BLUESTEM Apr 16 2019 05:28:00       Fingerhut,   Attn: Bankruptcy,    Po Box 1250,
                 Saint Cloud, MN 56395-1250
95029037       +EDI: AMINFOFP.COM Apr 16 2019 05:28:00       First Premier Bank,    3820 N Louise Ave,
                 Sioux Falls, SD 57107-0145
95029038       +EDI: AMINFOFP.COM Apr 16 2019 05:28:00       First Premier Bank,    Attn: Bankruptcy,
                 Po Box 5524,   Sioux Falls, SD 57117-5524
95029039       +E-mail/Text: cashiering-administrationservices@flagstar.com Apr 16 2019 02:09:38
                 Flagstar Bank,    Attn: Bankruptcy,    5151 Corporate Drive,    Troy, MI 48098-2639
95029041        EDI: IRS.COM Apr 16 2019 05:28:00       Internal Revenue Service,    P.O. BOX 7346,
                 Philadelphia, PA 19101-7346
95029042       +EDI: CBSKOHLS.COM Apr 16 2019 05:28:00       Kohls/Capital One,    Kohls Credit,    Po Box 3120,
                 Milwaukee, WI 53201-3120
95029042       +E-mail/Text: bncnotices@becket-lee.com Apr 16 2019 02:07:46        Kohls/Capital One,
                 Kohls Credit,   Po Box 3120,     Milwaukee, WI 53201-3120
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                                      Form ID: 309I                      Total Noticed: 52


Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center
(continued)
95029043       +EDI: CBSKOHLS.COM Apr 16 2019 05:28:00      Kohls/Capital One,    N56 W 17000 Ridgewood Dr,
                 Menomonee Falls, WI 53051-5660
95029043       +E-mail/Text: bncnotices@becket-lee.com Apr 16 2019 02:07:46       Kohls/Capital One,
                 N56 W 17000 Ridgewood Dr,   Menomonee Falls, WI 53051-5660
95029045       +EDI: RESURGENT.COM Apr 16 2019 05:28:00      LVNV Funding/Resurgent Capital,     Attn: Bankruptcy,
                 Po Box 10497,   Greenville, SC 29603-0497
95029046       +EDI: RESURGENT.COM Apr 16 2019 05:28:00      LVNV Funding/Resurgent Capital,     POB 10497,
                 Greenville, SC 29603-0497
95029044       +E-mail/Text: bk@lendingclub.com Apr 16 2019 02:09:28       LendingClub,    Attn: Bankruptcy,
                 71 Stevenson St, Ste 1000,   San Francisco, CA 94105-2967
95029053       +EDI: AGFINANCE.COM Apr 16 2019 05:28:00      OneMain Financial,    Attn: Bankruptcy,
                 601 Nw 2nd Street,   Evansville, IN 47708-1013
95029055       +EDI: PRA.COM Apr 16 2019 05:28:00      Portfolio Recovery Associates,     PO Box 41021,
                 Norfolk, VA 23541-1021
95029058       +EDI: RMSC.COM Apr 16 2019 05:28:00      Syncb/care Credit,    Attn: Bankruptcy,    Po Box 965060,
                 Orlando, FL 32896-5060
95029059       +EDI: RMSC.COM Apr 16 2019 05:28:00      Synchrony Bank/ JC Penneys,     Attn: Bankruptcy,
                 Po Box 956060,   Orlando, FL 32896-0001
95029060       +EDI: RMSC.COM Apr 16 2019 05:28:00      Synchrony Bank/BRMart,    Attn: Bankruptcy,
                 Po Box 965004,   Orlando, FL 32896-5004
95029061       +EDI: RMSC.COM Apr 16 2019 05:28:00      Synchrony Bank/Sams,    Attn: Bankruptcy,    Po Box 965060,
                 Orlando, FL 32896-5060
95029063       +EDI: WTRRNBANK.COM Apr 16 2019 05:28:00      Target,   Attn: Bankruptcy,     Po Box 9475,
                 Minneapolis, MN 55440-9475
95029069       +EDI: WFFC.COM Apr 16 2019 05:28:00      Wells Fargo Dealer Services,     Attn: Bankruptcy,
                 Po Box 19657,   Irvine, CA 92623-9657
                                                                                               TOTAL: 35

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
95029017*        +Capital One,   Attn: Bankruptcy,    Po Box 30285,    Salt Lake City, UT 84130-0285
95029020*        +Chase Card Services,    Attn: Bankruptcy,    Po Box 15298,   Wilmington, DE 19850-5298
95029021*        +Chase Card Services,    Attn: Bankruptcy,    Po Box 15298,   Wilmington, DE 19850-5298
95029024*        +Citibank/The Home Depot,    Attn: Recovery/Centralized Bankruptcy,     Po Box 790034,
                   St Louis, MO 63179-0034
95029026*        +Comenity Bank / The Limited,    Attn: Bankruptcy,    Po Box 182125,    Columbus, OH 43218-2125
95029029*        +Comenitycb/el Dorado,    Attn: Bankruptcy Dept,    Po Box 182125,    Columbus, OH 43218-2125
95029032*       ++DISCOVER FINANCIAL SERVICES LLC,    PO BOX 3025,    NEW ALBANY OH 43054-3025
                 (address filed with court: Discover Financial,      Attn: Bankruptcy Department,    Po Box 15316,
                   Wilmington, DE 19850)
95029047*        +LVNV Funding/Resurgent Capital,    POB 10497,    Greenville, SC 29603-0497
95029050*        +Nissan Motor Acceptance,    Attn: Bankruptcy Dept,    Po Box 660360,    Dallas, TX 75266-0360
95029052*        +Nissan Motor Acceptance Corp/Infinity Lt,     Attn: Bankruptcy,   Po Box 660360,
                   Dallas, TX 75266-0360
95029062*        +Synchrony Bank/Sams,    Attn: Bankruptcy,    Po Box 965060,   Orlando, FL 32896-5060
95029064*        +Target,   Attn: Bankruptcy,    Po Box 9475,    Minneapolis, MN 55440-9475
95029067*        +Visa Dept Store National Bank/Macy’s,     Attn: Bankruptcy,   Po Box 8053,    Mason, OH 45040-8053
95029068*        +Visa Dept Store National Bank/Macy’s,     Attn: Bankruptcy,   Po Box 8053,    Mason, OH 45040-8053
95029030       ##+Cresthill Capital, LLC,    80 Pine Street,    New York, NY 10005-1710
                                                                                                TOTALS: 0, * 14, ## 1

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).

Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.

Addresses marked ’##’ were identified by the USPS National Change of Address system as undeliverable.                             Notices
will no longer be delivered by the USPS to these addresses; therefore, they have been bypassed. The
debtor’s attorney or pro se debtor was advised that the specified notice was undeliverable.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Apr 17, 2019                                            Signature: /s/Joseph Speetjens
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                             Form ID: 309I                Total Noticed: 52

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                             CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on April 15, 2019 at the address(es) listed below:
              Nancy K. Neidich   e2c8f01@ch13miami.com, ecf2@ch13miami.com
              Office of the US Trustee    USTPRegion21.MM.ECF@usdoj.gov
              Robert Sanchez, Esq    on behalf of Debtor Inlis D Portillo court@bankruptcyclinic.com,
               r51375@notify.bestcase.com
              Robert Sanchez, Esq    on behalf of Joint Debtor Mariuska L Kauffman court@bankruptcyclinic.com,
               r51375@notify.bestcase.com
                                                                                            TOTAL: 4
                                 Case 19-14814-RAM                       Doc 13           Filed 04/17/19        Page 4 of 6
 Information to identify the case:
 Debtor 1                   Inlis D Portillo                                                      Social Security number or ITIN    xxx−xx−4666

                            First Name   Middle Name   Last Name                                  EIN    _ _−_ _ _ _ _ _ _
 Debtor 2                   Mariuska L Kauffman                                                   Social Security number or ITIN    xxx−xx−9606
 (Spouse, if filing)
                            First Name   Middle Name   Last Name                                  EIN    _ _−_ _ _ _ _ _ _
 United States Bankruptcy Court          Southern District of Florida
                                                                                                  Date case filed for chapter 13 4/12/19
 Case number:          19−14814−RAM

Notice of Chapter 13 Bankruptcy Case

For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a
deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or
otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay
may be limited to 30 days or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 13 plan may result in a discharge. Creditors who assert that the debtors are not entitled to a discharge under 11 U.S.C. §
1328(f) must file a motion objecting to discharge in the bankruptcy clerk's office within the deadline specified in this notice. Creditors who want to have
their debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office by the same deadline. (See boxes 8 and 12 below
for more information.)
You may want to consult an attorney to protect your rights. The bankruptcy clerk's office staff cannot give legal advice.
To help creditors correctly identify debtors, debtors must submit full Social Security or Individual Taxpayer Identification Numbers, which may
appear on a version of this notice. However, the full numbers must not appear on any document filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of a Social Security or
Individual Taxpayer Identification Number in any document, including attachments, that you file with the court.
WARNING TO DEBTOR: Debtors must commence plan payments within 30 days of filing the chapter 13 petition or conversion to chapter 13.
Without further notice or hearing the court may dismiss your case for failure to timely pay filing fee installments, failure to appear at the
meeting of creditors or failure to be current with plan payments at the time of the meeting of creditors, and for failure to file a pre−bankruptcy
certification of credit counseling or file wage documentation. The case may also be dismissed or converted at the scheduled confirmation
hearing if the court denies confirmation of the pending plan under 11 U.S.C. § 1325 and denies a request made for additional time for filing
another plan or a modification of a plan.
                                                 About Debtor 1:                                              About Debtor 2:
 1. Debtor's Full Name                           Inlis D Portillo                                             Mariuska L Kauffman

 2. All Other Names Used
    in the Last 8 Years
                                                 aka Inlis Portillo, aka Inlis Donaldo Portillo
                                                                                                              aka Mariuska Kauffman, aka Mariuska Lisseth
                                                                                                              Kauffman

                                                 8420 NW 170th Terrace                                        8420 NW 170th Terrace
 3. Address                                      Hialeah, FL 33015−3722                                       Hialeah, FL 33015−3722

       Debtor's Attorney                         Robert Sanchez Esq                                           Contact phone 305.687.8008
 4.    (or Pro Se Debtor)                        355 W 49 St.
       Name and address                          Hialeah, FL 33012

 5. Bankruptcy Trustee                           Nancy K. Neidich                                             Contact phone 954−443−4402
       Name and address                          www.ch13miami.com
                                                 POB 279806
                                                 Miramar, FL 33027

 6. Bankruptcy Clerk's                                                                                        Hours open 8:30 a.m. − 4:00 p.m.
                                                 US Bankruptcy Court
    Divisional Office Where                      301 North Miami Avenue, Room 150
                                                                                                              Contact phone (305) 714−1800
    Assigned Judge is                            Miami, FL 33128
    Chambered
      Documents filed conventionally in paper may be filed at any bankruptcy clerk's office location.         Note: The clerk's office is closed on all legal
      Documents may be viewed in electronic format via CM/ECF at any clerk's office public terminal           holidays.
      (at no charge for viewing) or via PACER on the internet accessible at www.pacer.gov (charges
      will apply). Case filing and unexpired deadline dates can be obtained by calling the Voice Case
      Information System toll−free at (866) 222−8029. As mandated by the Department of Homeland
      Security, ALL visitors (except minors accompanied by an adult) to any federal building or
      courthouse, must present a current, valid, government issued photo identification (e.g. drivers'        Clerk of Court: Joseph Falzone
      license, state identification card, passport, or immigration card.)                                     Dated: 4/15/19

      **MEETING OF CREDITORS**
      Debtors must attend the meeting to be May 23, 2019 at 09:30 AM                                        ** LOCATION:
      questioned under oath. In a joint case,
      both spouses must be present with        The meeting may be continued or adjourned                    Claude Pepper Federal Bldg, 51 SW
 7.   required original government−issued to a later date. If so, the date will be on the
      photo identification and proof of social court docket.                                                First Ave Room 102, Miami, FL 33130
      security number (or if applicable, Tax
      ID). Creditors may attend, but are not
      required to do so.
                                                                                                                                 For more information, see page 2
Local Form 309I USBC SDFL (08/15/2018)                    Notice of Chapter 13 Bankruptcy Case                                                page 1
                       Case 19-14814-RAM                      Doc 13           Filed 04/17/19               Page 5 of 6
Debtor Inlis D Portillo and Mariuska L Kauffman                                                                             Case number 19−14814−RAM
8. Deadlines                         Deadline to file a complaint to challenge                                Filing deadline: 7/22/19
    The bankruptcy clerk's office    dischargeability of certain debts:
   must receive these
   documents and any required        You must file:
   filing fee by the following       • a motion if you assert that the debtors are
   deadlines. Writing a letter to       not entitled to receive a discharge under
   the court or judge is not            U.S.C. § 1328(f) or
   sufficient.                       • a complaint if you want to have a particular
                                        debt excepted from discharge under
                                        11 U.S.C. § 523(a)(2) or (4).
                                     Deadline for all creditors to file a proof of claim                      Filing deadline: 6/24/19
                                     (except governmental units):
                                     Deadline for governmental units to file a proof of                       Filing deadline: 10/9/19
                                     claim:

   When Filing Proofs of             Deadlines for Filing Proof of Claim:
   Claim: If the debtor is not        A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained at
   represented by an attorney,       www.flsb.uscourts.gov or any bankruptcy clerk's office. If you do not file a proof of claim by the deadline, you
   you must serve copies of the      might not be paid on your claim. To be paid, you must file a proof of claim even if your claim is listed in the
   proof of claim including all      schedules that the debtor filed. If this is a converted case proofs of claim filed under the initial chapter shall be
   attachments on the debtor, via    deemed filed and need not be refiled.
                                     Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
   U.S. Mail, see Local Rule         claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain.
   3002−1(E). Claims may be          For example, a secured creditor who files a proof of claim may surrender important nonmonetary rights,
   delivered or mailed to the        including the right to a jury trial.
   clerk's office. Creditors with
   internet access have the          Filing Deadline for a Creditor with a Foreign Address: The deadlines for filing proofs of claim in this notice
                                     apply to all creditors. If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
   option to use the electronic      asking the court to extend the deadline to file a proof of claim. See also box 10 below.
   claims filing program on the
   court website at
   www.flsb.uscourts.gov to          Deadline to Object to Exemptions:                                        Filing deadline:     30 days after the
   electronically file a proof of    The law permits debtors to keep certain property as exempt. Fully                             conclusion of the
   claim.                            exempt property will not be sold and distributed to creditors.                                meeting of creditors, or
                                     Debtors must file a list of property claimed as exempt. If you                                within 30 days of any
                                     believe that the law does not authorize an exemption that the                                 amendment to the list
                                     debtors claim, you may file an objection.                                                     of supplemental
                                                                                                                                   schedules, unless as
                                     The bankruptcy clerk's office must receive the objection by                                   otherwise provided
                                     the deadline to object to exemptions.                                                         under Bankruptcy Rule
                                                                                                                                   1019(2)(B) and Local
                                                                                                                                   Rule 4003−1(B) for
                                                                                                                                   converted cases.

9. Filing of Plan and Hearing        A copy of the debtor's filed plan is enclosed. The hearing on confirmation will be held on:
   on Confirmation                   7/11/19 at 01:30 PM , at C. Clyde Atkins U.S. Courthouse, 301 North Miami Avenue, Courtroom 4, Miami,
                                     FL 33128

   Deadline to Object to             At the confirmation hearing on the plan, the court will consider all timely objections to confirmation and any filed
   Confirmation                      motions to dismiss or convert the case. Except for objections to confirmation based on valuation of collateral in
                                     the plan or objections to attorney fee claims, objections to confirmation of the plan must be in writing and
                                     filed no later than 14 days prior to the date first scheduled for hearing on confirmation, see Local Rule
                                     3015−3(B)(1).

   Attorney Fee Claims               Attorney fee applications and objections to attorney fees shall be heard at the confirmation hearing.
10. Creditors with a Foreign         Consult an attorney familiar with United States bankruptcy law if you have any questions about your rights in
    Address                          this case.

11. Filing a Chapter 13              Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts
    Bankruptcy Case                  according to a plan. A plan is not effective unless the court confirms it. You may object to confirmation of the
                                     plan and appear at the confirmation hearing. A copy of the plan is included with this notice and the confimation
                                     hearing will be held on the date shown in box 9 of this notice. The debtor will remain in possession of the
                                     property and may continue to operate the business, if any, unless the court orders otherwise.
12. Discharge of Debts               Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of a debt.
                                     However, unless the court orders otherwise, the debts will not be discharged until all payments under the plan
                                     are made. A discharge means that creditors may never try to collect the debt from the debtors personally except
                                     as provided in the plan. If you want to have a particular debt excepted from discharge under 11 U.S.C. §
                                     523(a)(2) or (4), you must file a complaint and pay the filing fee in the bankruptcy clerk's office by the deadline.
                                     If you believe that the debtors are not entitled to a discharge of any of their debts under 11 U.S.C. § 1328(f), you
                                     must file a motion. See box 8 for deadlines. The discharge will not be issued until the Official Bankruptcy Form
                                     "Certification About a Financial Management Course" is filed by the debtor (unless the course provider filed a
                                     certificate of completion of the financial management course on behalf of the debtor).
13. Option to Receive Notices        1) EBN program open to all parties. Register at the BNC website bankr uptcynotices.uscourts.gov, OR 2) DeBN
    Served by the Clerk by           program open to debtors only. Register by filing with the Clerk of Court, Local Form "Debtor's Request to
                                     Receive Electronically Under DeBN Program". There is no charge for either option. See also Local Rule
    Email Instead of by U.S.         9036−1(B) and (C).
    Mail
14. Translating Services             Language interpretation of the meeting of creditors will be provided to the debtor at no cost, upon request to the
                                     trustee, through a telephone interpreter service. Persons with communications disabilities should contact the
                                     U.S. Trustee's office to arrange for translating services at the meeting of creditors.
                            Case 19-14814-RAM         Doc 13          Filed 04/17/19   Page 6 of 6
Local Form 309I USBC SDFL               Notice of Chapter 13 Bankruptcy Case                         page 2
